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                       UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA
                                   Miami Division

                             Case Number: 23-24620-CIV-MORENO
   SINDURA JASTHI,

                         Plaintiff,

           v.

   US ATTORNEY GENERAL, MERRICK
   GARLAND, et al.,
                    Defendants.

   _______________________________________/

                      (PROPOSED) ORDER GRANTING EXTENSION

           THIS CAUSE came before the Court upon the Defendants’ response to the Court’s

   Order. ECF No. 11.

           THE COURT has considered the pertinent portions of the record, found no cause for

   entry of default, and noted the agreement of the parties concerning Defendants’ request for a

   45-day extension to respond to the Complaint. Therefore, it is

           ADJUDGED that Defendants shall file a response to the Complaint no later than

   May 31, 2024.

           DONE AND ORDERED in Chambers at Miami, Florida, this _______ of April,

   2024.



                                             ______________________________________
                                             FEDERICO A. MORENO
                                             UNITED STATES DISTRICT JUDGE


           Copies furnished to:

           Counsel of Record
